

People v Rosado (2022 NY Slip Op 00733)





People v Rosado


2022 NY Slip Op 00733


Decided on February 03, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 03, 2022

Before: Kapnick, J.P., Mazzarelli, Gesmer, Kennedy, Pitt, JJ. 


Ind No. 1442/13 Appeal No. 15213 Case No. 2016-1977 

[*1]The People of the State of New York, Respondent,
vAngel Rosado, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Laura Boyd of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Reva Grace Phillips of counsel), for respondent.



Judgment, Supreme Court, Bronx County (William I. Mogulescu, J.), rendered November 14, 2014, as amended November 20, 2014, convicting defendant, upon his plea of guilty, of robbery in the second degree, and sentencing him, as a second felony offender, to a term of five years, unanimously affirmed.
By pleading guilty, defendant forfeited his challenge to the grand jury instructions (see People v Rivera, 93 AD3d 409 [1st Dept 2012], lv denied 19 NY3d 866 [2012]; People v Fatiu, 158 AD3d 890, 891 [3d Dept 2018]). Defendant's claim that the grand jury should have been instructed on the defense of justification did not survive the plea because the indictment was not jurisdictionally defective, and the alleged defect did not implicate the integrity of the grand jury proceeding (see People v Manragh, 32 NY3d 1101, 1102-1103 [2018]; People v Hansen, 95 NY2d 227, 230-231 [2000]; compare People v Pelchat, 62 NY2d 97 [1984]). The cases cited by defendant regarding grand jury instructions on exculpatory defenses (see e.g. People v Valles, 62 NY2d 36 [1984]) do not address forfeiture of the issue by guilty plea. In any event, there was no reasonable view of the grand jury evidence, including defendant's testimony, to support a justification charge. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 3, 2022








